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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                     Case No. 1:08-CR-47

v.                                                            Hon. Paul L. Maloney

MARIE JEANETTE MASON,

            Defendant.
________________________________________/

                     ORDER DENYING MOTION TO MODIFY BOND

               Pending before the court is a motion by the defendant for authorization to travel to

Cincinnati, Ohio, today to attend a hearing in juvenile court involving her sixteen-year-old daughter,

and to return tomorrow, and at the same time to visit her attorney in Ann Arbor. The motion was

filed today, and has been referred to the undersigned for disposition.

               The motion and the supporting brief (which are identical) refer to a hearing in

juvenile court “on a complaint by her father of home truancy,” but provide no further information

about that proceeding, or why defendant needs to attend that proceeding. There is no indication this

is an emergency. The court has contacted the Pretrial Services office, and it does not support the

motion under these circumstances, but defers to the U.S. Attorney’s Office. Neither that office, nor

the F.B.I. as the investigating agency, support the motion either, however.

               There is no indication this is an emergency, nor has defendant even provided a reason

why her attendance is necessary at the hearing in Cincinnati. None of the three federal offices which

are concerned in this matter believe that defendant should be released again from her present bond


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restrictions. Nor in making this request has defendant provided the court with sufficient time to look

into the matter further. In short, defendant offers too little too late.

                The motion (docket no. 79) is DENIED.


Dated: June 18, 2008                                    /s/ Hugh W. Brenneman, Jr.
                                                        HUGH W. BRENNEMAN, JR.
                                                        United States Magistrate Judge




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